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                      EXHIBIT 7
            FILED UNDER SEAL
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                                                  October 14, 2022

 Re: In re Google Digital Advertising Antitrust Litigation, No. 1:21-md-03010 (PKC)

 Dear Zeke:

        I write concerning Plaintiffs’ draft of the ESI Order in the above-captioned MDL.

         Defendants’ Draft of the ESI Order dated July 1 (“Defendants’ July 1 Draft”) was based
 on a template entered by a federal judge in a recent antitrust case brought by the Federal Trade
 Commission. Google made a modest number of changes to that objectively reasonable template,
 including a small number of changes in Google’s favor (grounded in principles of proportionality,
 as discussed below), and a larger number of changes in Plaintiffs’ favor (to address specific
 concerns raised by Plaintiffs). Contrary to Federal Rule of Civil Procedure 26(b)(1), Plaintiffs’
 most recent draft rejects all proportionality changes proposed by Google. It retains, however, all
 changes in Plaintiffs’ favor, and then demands over 50 additional changes in Plaintiffs’ favor
 (many of which find no support in the Federal Rules). Plaintiffs’ one-sided approach to
 negotiations is unproductive, and ignores the Court’s guidance that the parties should not seek to
 reinvent the wheel.

         We outline below a proposed compromise that addresses Google’s primary concerns in
 exchange for what we understand to be Plaintiffs’ primary concerns (as well as many of
 Plaintiffs’ proposed “technical edits”). If Plaintiffs will agree to appropriate limitations on the
 scope of discoverable ESI grounded in principles of proportionality, then Google will agree to the
 changes outlined below and reflected in the enclosed redline. But if Plaintiffs continue to reject
 any and all changes proposed by Google then Google is prepared to submit Defendants’ July 1
 Draft to the Court.
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        The ESI Order Should Reflect Principles of Proportionality

          Google made very limited changes to the categories of ESI identified in the FTC v. Meta
 template that need not be preserved or searched. Those changes are grounded in Federal Rule
 26(b)(1) and principles of proportionality articulated in the Sedona Principles i.e., that the
 “preservation obligation should be limited to those steps reasonably necessary to secure ESI for
 the fair and just resolution of the matter in dispute,” and that “it is neither feasible nor reasonable
 to require litigants to canvas all potential sources of ESI in discharging their preservation
 obligations and responding to discovery requests.” The Sedona Principles, Third Edition, 19
 Sedona Conf. J. 1, 112, 173 (2018) (“Sedona Principles”). Plaintiffs rejected all of Google’s
 proposed changes then deleted further provisions that were part of the original FTC v. Meta
 template. Those provisions should be included in the ESI Order.

          Back-up systems and tapes used for disaster recovery. The Sedona Principles counsel
 that, “[a]bsent good cause, preservation obligations should not extend to disaster recovery backup
 tapes created in the ordinary course of business.” Sedona Principles, at 113. If Plaintiffs contend
 that there is good cause to require preservation of disaster recovery systems in this case, please
 explain the basis for that contention.

         Individual user data subject to routine disposition required by privacy regulations. The
 Sedona Conference counsels that “[d]ata protection laws and regulations may affect an
 organization’s ability to implement legal hold data preservation measures.” The Sedona
 Conference, Commentary on Legal Holds, Second Edition, 20 Sedona Conf. J. 341, 409 (2019).
 If Plaintiffs contend that the preservation obligation should trump the requirements of privacy
 regulations affecting any user data, please explain the basis for that contention.

         Logs of calls made from cellular phones, and voicemail messages. The Sedona Principles
 counsel that preservation efforts should focus on “sources that are most likely to contain relevant
 ESI.” Sedona Principles, at 136. In light of the nature of the allegations remaining in the case,
 which focus on unilateral exclusionary conduct across various alleged markets, it seems unlikely
 that voicemails and cell phone logs will have any relevance to the issues in dispute. If Plaintiffs
 contend otherwise, please explain the basis for that contention.

         Metadata fields that are frequently updated automatically, such as last-opened or last
 modified dates. “Computer systems manage data dynamically, meaning that the ESI is constantly
 being cached, rewritten, moved, and copied.” Sedona Principles, at 112. It follows that parties
 should limit preservation obligations to steps “reasonably necessary to secure ESI for the fair and
 just resolution of the matter in dispute.” Id. If Plaintiffs contend that frequently updated fields
 such as last-opened or last-modified dates are relevant to the claims in this case, please explain
 the basis for that contention.

        Ad logs concerning ads viewed outside the United States. Ad logs are an example of the
 category of “massive or disproportionate volumes of information” that need not be preserved.
 Sedona Principles, at 136. Google has exabytes of ad log data which is too large to produce,
 cannot easily be searched, and older log data is no longer of any business use to Google. If
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 Plaintiffs contend that ad logs concerning ads viewed outside the United States are relevant to the
 claims in this case, please explain the basis for that contention.

         Dynamic fields of databases, dashboards, or log files. Dynamic fields are an example of
 “ephemeral data” that need not be preserved. Sedona Principles, at 136. Google has many
 databases, dashboards, and logs featuring dynamic fields that are automatically populated with
 refreshed data from (and thus duplicative of) other sources. “A party need not preserve multiple
 or duplicative copies of the same relevant ESI.” Sedona Principles, at 94. If Plaintiffs contend
 that dynamic fields are relevant to this dispute, please explain the basis for that contention.

        Systems no longer in use that cannot be accessed. We think that this is self-explanatory.
 We do not have any particular “systems” in mind at this juncture, but we anticipate that this issue
 may arise given the pace of change in the ad tech world. To the extent that Plaintiffs request
 documents from systems that are no longer in use, Google will consider those requests on a
 case-by-case basis and consistent with Federal Rule 26(b). But it is unreasonable to expect
 Google to preserve systems that cannot be accessed. If Plaintiffs contend otherwise, please
 explain the basis for that contention.

        Google Remains Prepared To Address Plaintiffs’ Primary Concerns

         We understand Plaintiffs’ primary concern to be that there are a number of documents
 produced in the presuit investigation that Plaintiffs assert contain unreadable truncated comments
 and do not contain linked documents. As set forth in my letter of July 1, Google made changes to
 the FTC v. Meta template to address Plaintiffs’ specific concerns, including by allowing the
 receiving party to make reasonable requests for a more readable version and for linked
 documents. Those changes continue to be more than sufficient to address Plaintiffs’ stated
 concerns. But in the interest of reaching agreement on the ESI Order, if Plaintiffs will agree to
 the inclusion of Google’s reasonable requests regarding proportionality (outlined above) then
 Google is prepared to take additional steps (outlined below) to address Plaintiffs’ concerns.

         Readability. For future productions, Google will agree to include language obliging the
 producing party to make reasonable efforts to identify documents with readability issues in
 advance of production and, where issues are detected, to produce the document in a more
 readable format (such as in Microsoft-equivalent form). For previously-produced Investigation
 Materials with readability issues Google would, when requested and where possible and
 proportionate, be prepared to produce a more readable version for documents that are responsive
 to a properly propounded request pursuant to Federal Rule 34.

         Links. For future productions, Google will agree to include language obliging the
 producing party to conduct a reasonable search to identify emails that contain links. For each link
 identified, the producing party will conduct a reasonable search for the document corresponding
 with the link. The search will be over the collected documents for the agreed-upon custodians
 that received the email(s) containing the link. The producing party will process and produce
 relevant documents corresponding with the email links as though they were separate documents.
 For previously-produced Investigation Materials, Google remains amenable to addressing
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 reasonable and proportionate requests for the production of a reasonable number of linked
 documents that are responsive to a properly propounded request pursuant to Federal Rule 34. See
 App’x 1, Section J.

         Technical edits. We do not agree with Plaintiffs’ characterization of many of their
 proposed edits as being merely “technical.” Many of those so-called “technical edits” are
 substantive, burdensome, and disproportionate. But if Plaintiffs will agree to address Google’s
 proportionality concerns then Google would be prepared to agree to the “technical edits” reflected
 in the enclosed redline.

                                              * * *

         Google remains prepared to meet and confer regarding the contours of this ESI Order.
 Although Google is willing to consider Plaintiffs’ views on these issues, Google will not agree to
 an ESI Order that is contrary to both Federal Rule 26 and the Sedona Principles. If Plaintiffs
 continue to demand dozens of further changes in their favor while rejecting every single
 proportionality change proposed by Google then it does not seem productive to continue to
 exchange drafts. Defendants’ July 1 Draft is objectively reasonable, fairly addresses the concerns
 of all parties, and can be entered as drafted if need be. If Plaintiffs will agree to appropriate
 limitations to the scope of ESI as described in this letter, then Google is prepared to make the
 additional concessions described in this letter and set forth in the enclosed redline.

                                                      Very truly yours,

                                                     /s/ Robert J. McCallum

                                                     Robert J. McCallum

 Enclosure

 cc:    Lauren Kaplin
        Mikaela Evans-Aziz
        Kevin Orsini
        Martha Reiser
        Jason Zweig
        Caitlin Coslett
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